 Case: 1:18-cv-03424 Document #: 97 Filed: 02/25/19 Page 1 of 1 PageID #:3423

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Protect Our Parks, et al.
                                     Plaintiff,
v.                                                      Case No.: 1:18−cv−03424
                                                        Honorable John Robert Blakey
Chicago Park District, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 25, 2019:


        MINUTE entry before the Honorable John Robert Blakey: On February 14, 2019,
this Court instructed both sides to meet and confer regarding any outstanding discovery
disputes and file a joint status report regarding any potential discovery issues on or before
February 22, 2019. [90]. On February 22, 2019, the parties submitted separate discovery
reports, [95] [96], rather than a joint report, citing time constraints and differing positions
as to discovery. This Court strikes both reports, [95] [96], for failure to follow this Court's
orders, and orders the parties to submit a joint report regarding any potential discovery
issues, not to exceed 15 pages, on or before February 26, 2019 at 5PM. Mailed notice(gel,
)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
